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ad. Valor Homes 100 LLC = 116 Palmetto Rd Suite J Tyrone, GA 30290

404-424-9288 Office = 404-591-7945 Fax

June 19, 2014

Dear Santigo,

We are pleased to present you with this Discretionary Bonus of $542.00. This bonus
includes all time card corrections as well as a discretionary bonus

Your current rate of pay is $25.00 per hour.

Thank you for your service to Valor Homes, 100 LLC.

Regards, Vv

Anthony Alaimo

I agree with the statements above.

EXHIBIT

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